                 Case 18-15085-amc                     Doc 76         Filed 10/06/22 Entered 10/06/22 15:36:18       Desc Main
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                                              IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                  IN RE: Courtney E. Robinson                                                CHAPTER 13
                                                               Debtor(s)
                                                                                             BKY. NO. 18-15085 AMC


                                         ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

                    To the Clerk:

                           Kindly enter my appearance on behalf of MidFirst Bank and index same on the master
                    mailing list.


                                                                                        Respectfully submitted,


                                                                                /s/${s:1:y:_________________________}
                                                                                 Denise Carlon
                                                                                 05 Oct 2022, 18:29:05, EDT



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